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              ORAL ARGUMENT HELD DECEMBER 15, 2021

              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


 CLETUS WOODROW BOHON, et al.,

                            Appellants,

       v.                                         No. 20-5203

 FEDERAL ENERGY
 REGULATORY COMMISSION, et al.,

                           Appellees.


        MOTION OF MOUNTAIN VALLEY PIPELINE, LLC FOR
        LEAVE TO SUBMIT SUPPLEMENTAL RESPONSE BRIEF

      Pursuant to Federal Rule of Appellate Procedure 27 and D.C. Circuit Rule 27,

Defendant-Appellee Mountain Valley Pipeline, LLC (“Mountain Valley”)

respectfully moves for an order granting all parties leave to submit simultaneous

supplemental response briefs, to ensure that the Court has adversarial briefing on the

issues raised in the parties’ supplemental briefs filed on August 7, 2023. In

particular, the supplemental brief of Plaintiffs-Appellants raised several facial

challenges to the constitutionality of Section 324 of the Fiscal Responsibility Act of

2023 (the “Act”), a statute that Appellees have argued deprives federal courts of

jurisdiction over the underlying claims in this case. Plaintiffs’ facial constitutional
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challenges were raised for the first time in their August 7 supplemental brief, and so

Appellees did not previously have reason or occasion to address them.

      Mountain Valley seeks leave to file a response brief so that this Court has

adversarial briefing on the constitutional arguments the Plaintiffs have raised, to the

extent this Court decides to reach those issues in disposing of this case. Specifically,

Mountain Valley proposes that each party be permitted to submit a 3,500-word

supplemental response brief, limited to responding to arguments in the August 7

supplemental briefs.    With regard to the timing of such briefs, due to other

professional obligations, Mountain Valley proposes that any response briefs be filed

by September 15, 2023, or 14 days after an order of this Court allowing such briefs,

whichever is later.

      The Federal Energy Regulatory Commission (“Commission”) takes no

position on this motion. Plaintiffs report their position as follows: “Plaintiffs oppose

additional briefing and any further delays in their case.”

      In support of this motion, Mountain Valley states the following:

I.    Procedural Background

      1.     The procedural background of this case is set forth in Mountain

Valley’s prior submissions and not reproduced here. See Mot. at 2-6 (July 3, 2023),

Doc. 2006265.




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      2.     Pursuant to this Court’s order of July 7, 2023 authorizing briefs of up

to 5,000 words, all parties filed supplemental briefs on August 7, 2023, addressing

issues relevant to this Court’s action on remand from the Supreme Court. In

pertinent part, Appellees argued that Section 19 of the Natural Gas Act deprives the

district court of jurisdiction over this case; that Axon Enterprise, Inc. v. Federal

Trade Commission, 143 S. Ct. 890 (2023), does not change that result; and that

Section 324 of the Act independently deprives the district court and this Court of

jurisdiction and is an alternate ground supporting dismissal of the case. The

Plaintiffs’ supplemental brief argues, among other things, that Section 324 of the

Act is unconstitutional on grounds that it: (1) “violates the separation of powers”

under United States v. Klein, 80 U.S. 128 (1872); (2) confers a “special status” on

Mountain Valley, in purported violation of the Titles of Nobility Clause and the

Equal Protection Clause; and (3) violates the Ex Post Facto Clause. Suppl. Br. of

Landowners at 2, 13-19 (Aug. 7, 2023), Doc. 2011299.

II.   Request for Leave to Submit Response Briefs

      3.     At present, this Court does not have adversarial briefing on the

constitutional challenges raised in Plaintiffs’ August 7 supplemental brief. The

parties’ original merits briefs did not have occasion to address those issues, because

the Act was not enacted until well after those briefs were filed.            Appellees’

supplemental briefs argued that the Act, on its face, divests the district court and this


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Court of jurisdiction. But given the simultaneous timing of the supplemental

briefing, Appellees did not (and could not) know whether Plaintiffs would challenge

the validity of that Act, or the contours of the arguments Plaintiffs might raise.

          4.      Having adversarial briefing is a basic premise of appellate

decisionmaking, and is especially important in cases where, as here, a party raises a

constitutional challenge to a federal statute. See Clark v. Valeo, 559 F.2d 642, 649

n.8 (D.C. Cir. 1977) (per curiam) (noting that “appropriate advers[arial] . . . briefing”

would “certainly assist a court in resolving [an] important constitutional question”).

          5.      Mountain Valley respectfully requests that the Court authorize the

parties to file simultaneous supplemental response briefs in this case not in excess

of 3,500 words, and limited to addressing issues raised in the August 7 supplemental

briefs.        Given Plaintiffs’ opposition to additional briefing, Mountain Valley

respectfully suggests that the Court authorize (but not require) parties to file such

briefs. If this motion is granted, Mountain Valley’s response brief would focus

primarily on Plaintiffs’ challenges to the constitutionality of the Act, to ensure that

this Court has adversarial briefing on those issues, in the event this Court reaches

the constitutional questions in its disposition of this case. Cf. Act § 324(e)(2)

(vesting this Court with “original and exclusive jurisdiction over any claim alleging

the invalidity of this section”).




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       6.     Allowing supplemental response briefs would be consistent with this

Court’s prior practice. In appropriate cases, this Court has allowed parties to respond

to their adversaries’ arguments, in the context of supplemental briefs.1 Similarly,

this Court has allowed supplemental opening and response briefs following “GVR”

orders from the Supreme Court.2

III.   Conclusion

       Mountain Valley respectfully requests that this Court enter an order

authorizing the parties to file 3,500-word supplemental response briefs by

September 15, 2023, or within 14 days of the date of the Court’s order granting leave

to file, whichever is later.




1
 See, e.g., Order, Nat’l Mining Ass’n v. U.S. Dep’t of Interior (No. 96-5274), Doc.
568219 (D.C. Cir. Jan 10, 2001) (in case that arguably became moot during appeal,
inviting supplemental brief from appellees, followed by a supplemental brief from
appellant 14 days later); Order, Davis v. Dep’t of Labor (No. 13-5026), Doc.
1470746 (D.C. Cir. Dec. 16, 2013) (similar; inviting supplemental brief from one
appellee, followed by “supplemental reply brief” from appellant 15 days later);
Order, United States v. Bruns (No. 09-3077), Doc. 1302719 (D.C. Cir. Apr. 11,
2011) (inviting supplemental brief, then “responsive supplemental brief,” then
“supplemental reply brief”).
2
 See, e.g., Order, Rasul v. Myers (Nos. 06-5209 et al.), Doc. 1155475 (D.C. Cir.
Dec. 22, 2008) (following GVR, allowing simultaneous supplemental briefs of 15
pages and then supplemental reply briefs of 10 pages, to be filed 10 days later);
Order, Moore v. Hartman (No. 10-5334), Doc. 1380714 (D.C. Cir. June 26, 2012)
(same).
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Date: August 18, 2023                       Respectfully submitted,

                                            /s/ Jeremy C. Marwell

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                     CERTIFICATE OF COMPLIANCE

      1.    This motion complies with the word limit of Federal Rule of Appellate

Procedure 27(d)(2) because it contains 1,049 words, excluding the parts exempted

by Federal Rules of Appellate Procedure 32(f) and 27(d)(2).

      2.    This motion complies with the typeface requirements of Federal Rule

of Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

Appellate Procedure 32(a)(6), because it has been prepared in a proportionally

spaced typeface using Microsoft Word 2016 in Times New Roman 14-point font.



August 18, 2023                     /s/ Jeremy C. Marwell
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                         CERTIFICATE OF SERVICE

      Pursuant to Rule 25 of the Federal Rules of Appellate Procedure, I hereby

certify that on August 18, 2023, I electronically filed the foregoing motion with the

Clerk of the Court for the U.S. Court of Appeals for the District of Columbia Circuit

by using the appellate CM/ECF system, and served copies of the foregoing via the

Court’s CM/ECF system on all ECF-registered counsel.


August 18, 2023                       /s/ Jeremy C. Marwell
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